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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


ARKANSAS TEACHER RETIREMENT SYSTEM,
on behalf of itself and all others
similarly situated,
        Plaintiff
                                               C.A.    No.   11-10230-MLW
               V .



STATE STREET BANK AND TRUST COMPANY,
        Defendants.


ARNOLD HENRIQUEZ,     MICHAEL T.
COHN,WILLIAM R. TAYLOR, RICHARD A.
SUTHERLAND, and those similarly
situated.
        Plaintiff


               V .                              C.A.   No.   11-12049-MLW


STATE STREET BANK AND TRUST COMPANY,
        Defendants.


THE ANDOVER COMPANIES EMPLOYEE
SAVINGS AND PROFIT SHARING PLAN,        on
behalf of itself, and JAMES
PEHOUSHEK-STANGELAND and all others
similarly situated.
        Plaintiff


               V .
                                                C.A.   No.   12-11698-MLW


STATE STREET BANK AND TRUST COMPANY,
        Defendants.

                                    ORDER



WOLF,   D.J.
                                                                May 17, 2018
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    A hearing will begin on June 24, 2019, at 10:00 a.m., and
continue as necessary on June 25 and June 26, 2019, to address
objections by Lieff Cabraser Heimann & Bernstein, LLP ("Lieff")
and Thornton Law Firm LLP ("Thornton") to the Special Master's
Report and Recommendations, and other pending issues. The court
intends to issue another order with an agenda for that hearing.




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                                         UNITED STATES DISTRICT  ctoc
